Case 1:20-cv-01166-TJK Document 1-1 Filed 05/05/20 Page 1 of 8




          EXHIBIT A
        Case 1:20-cv-01166-TJK Document 1-1 Filed 05/05/20 Page 2 of 8
                                                                                                                EMILY RYO
                                                                               Associate Professor of Law and Sociology




October 11, 2017

U.S. Immigration and Customs Enforcement
Freedom of Information Act Office
500 12th Street SW, Stop 5009
Washington, D.C. 20536-5009
ice-foia@dhs.gov

RE:     Request under the Freedom of Information Act
        Fee Waiver Requested

To Whom It May Concern:

      This letter constitutes a request for records pursuant to the Freedom of Information Act
(“FOIA”), 5 U.S.C. § 552 (2012).

        I request anonymized, individual-level data on every person arrested/apprehended, booked, or
detained during immigration and criminal law enforcement investigations and operations conducted by
ICE and U.S. Customs and Border Protection (CBP) between October 1, 2012 and the date that data
production for this FOIA request commences. The data should include those who were in detention and
had not yet been released as of the date data production for this FOIA request is initiated, as well as
those who were in detention as of October 1, 2012 but were apprehended previous to that date.

         To facilitate ICE’s search for records and the utility of the information provided, I request that
electronic copies of the data be provided to me pursuant to 5 U.S.C. § 552 (a)(3)(C), either as a series of
csv files or other machine readable data format such as JSON. I also request current translation files for
any fields containing coded entries (e.g., data dictionary), and detailed notes on the database query and
limitations of the data, including explanations of any changes to the way any given field might have
been coded over time.

For each individual, I request the following data:

Person ID variable

An anonymized ID variable to identify the individual both within a single table and across separate
tables or outputs if the data is provided in separate tables (e.g., detention history table, criminal history
table, demographic table, etc.). To allow for identification of the same individual over time, individuals
with records across multiple fiscal years (for example, individuals detained over multiple fiscal years)
should be assigned unique IDs that stay the same across separate tables associated with different fiscal
years.



                                                University of Southern California
  699 Exposition Boulevard, Los Angeles, California 90089-0071 • Tel: 213 740 3409 • Fax: 213 740 5502 • eryo@law.usc.edu
      Case 1:20-cv-01166-TJK Document 1-1 Filed 05/05/20 Page 3 of 8


U.S. Immigration and Customs Enforcement
Freedom of Information Act Office
October 11, 2017
Page 2

Arrest/Apprehension Information

1.    Date of arrest/apprehension
2.    Name of the state in which arrest/apprehension occurred
3.    City of arrest/apprehension
4.    Initial arresting/apprehending agency (e.g., ICE/CBP/non-DHS arresting agency, such as a
      sheriff deputy)
5.    287(g) arrest (yes/no)
6.    Customs and Border Protection (CBP) arrest (yes/no)
7.    Apprehension program (e.g., ERO Criminal Alien Program/Fugitive operations/Detained docket
      control/etc.)
8.    Arrest method (e.g., CAP state incarceration/CAP federal incarceration/Located/etc.)
9.    Arrestee indicated to CBP agent he or she wished to apply for asylum (yes/no)
10.   Arrestee indicated to CBP agent he or she feared persecution or torture (yes/no)
11.   Arrestee indicated to CBP agent fear of returning to own country (yes/no)
12.   Arrestee referred to USCIS for a credible fear interview (yes/no)

Detainer Information

13.   Detainer issued (yes/no)
14.   Detainer prepare date
15.   Detainer form type (e.g., I-247/I-247D/I-247N/I-247A)
16.   Area of Responsibility that issued detainer
17.   Name of detention facility/law enforcement agency to which detainer was issued
18.   Detention facility code to which detainer was issued
19.   Name of the state in which detainer detention facility/law enforcement agency is located
20.   City of detainer detention facility/law enforcement agency
21.   For those issued an I-247X, DHS has determined probable cause exists that the individual is
      removable based on biometric confirmation of the individual’s identity and a records check of
      federal databases that affirmatively indicate that the individual either lacks immigration status or
      is removable (yes/no)
22.   For those issued an I-247D, DHS has determined that the individual is an immigration
      enforcement priority because he/she has been convicted of an offense of which an element was
      active participation in a criminal street gang, or is at least 16 years old and intentionally
      participated in an organized criminal gang to further its illegal activities (yes/no)
23.   For those issued an I-247D, DHS has determined probable cause exists that the individual is
      removable based on biometric confirmation of the individual’s identity and a records check of
      federal databases that affirmatively indicate that the individual either lacks immigration status or
      is removable (yes/no)
24.   For those issued an I-247A, DHS has determined probable cause exists that the individual is
      removable based on biometric confirmation of the individual’s identity and a records check of
      federal databases that affirmatively indicate, by themselves or in addition to other reliable
      information, that the individual either lacks immigration status or notwithstanding such status
      is removable under U.S. immigration law (yes/no)
      Case 1:20-cv-01166-TJK Document 1-1 Filed 05/05/20 Page 4 of 8


U.S. Immigration and Customs Enforcement
Freedom of Information Act Office
October 11, 2017
Page 3


Immigration History

25.   Immigration status or category at time of apprehension/arrest (e.g., Lawful permanent
      resident/Visa holder/EWI/etc.)
26.   ICE fugitive (yes/no)
27.   Previous removal (yes/no)
28.   Most recent previous removal date
29.   Previous return (yes/no)
30.   Most recent previous return date
31.   Most recent previous removal order was an expedited removal order (yes/no)
32.   Date of most recent previous entry without inspection
33.   Number of previous recorded entries without inspection
34.   Type of visa held
35.   Type of visa violation (e.g., overstay)
36.   Date of original entry
37.   Original immigration status/category
38.   Date of last entry
39.   Last Immigration status or category

Biographic Information

40.   Gender
41.   Race and ethnicity
42.   Country of birth
43.   Country of citizenship
44.   Age at book-in
45.   Marital status
46.   Educational history (as described in the EID Privacy Impact Assessment (PIA))
47.   Employment history (as described in the EID PIA)
48.   US military service (yes/no)
49.   Number and citizenship of children under age 18 (has previously been provided as multiple
      variables including “person relationship”, “child citizenship country”, “child gender”, and
      “children claimed”)
50.   Number and citizenship of children over age 18 (has previously been provided as multiple
      variables including “person relationship”, “child citizenship country”, “child gender”, and
      “children claimed”)
51.   Spouse (yes/no)
52.   Spouse’s country of citizenship
53.   Has a US citizen parent (yes/no)
       Case 1:20-cv-01166-TJK Document 1-1 Filed 05/05/20 Page 5 of 8


U.S. Immigration and Customs Enforcement
Freedom of Information Act Office
October 11, 2017
Page 4

Criminal History (US charges/convictions only – not including charges/convictions in other
countries)

54.    Charged with a crime (yes/no)
55.    For each criminal charge:
       a. Criminal charge date
       b. Criminal charge code (NCIC)
       c. Criminal charge description
       d. Criminal charge level (e.g., misdemeanor or felony)
       e. Criminal charge category
       f. Criminal charge jurisdiction
       g. Criminal charge status (e.g., convicted/dismissed/pending/etc.)
       h. Criminal conviction (yes/no)
       i. Criminal conviction date
       j. Criminal conviction sentence days
       k. Criminal conviction sentence months
       l. Criminal conviction sentence years

56.    For the most serious criminal conviction (MSCC) as marked in EID
       a. Conviction date final
       b. Conviction crime code (NCIC)
       c. Conviction crime description
       d. Conviction crime level (e.g., misdemeanor or felony)
       e. Conviction crime category
       f. Conviction jurisdiction
       g. MSCC sentence days
       h. MSCC sentence months
       i. MSCC sentence years
57.    Aggravated felon (yes/no)
58.    Aggravated felon type

Detention and Release Information (Entire detention history (each facility) information is
requested)

59.    Anonymized detention stay ID (in order to determine different custody periods for the same
       Person ID)
60.    Initial book-in date and time
61.    Initial intake Docket Control Office (DCO)
62.    Initial intake detention facility name, city, and state
63.    Initial intake detention facility code
64.    Book-in date and time of each subsequent detention facility
65.    DCO of each subsequent detention facility
66.    Each subsequent detention facility name, city, and state
       Case 1:20-cv-01166-TJK Document 1-1 Filed 05/05/20 Page 6 of 8


U.S. Immigration and Customs Enforcement
Freedom of Information Act Office
October 11, 2017
Page 5

67.    Each subsequent detention facility code
68.    Book-out date and time of each subsequent detention facility
69.    Order of detentions (e.g., 1, 2, 3…for 1st facility, 2nd facility, 3rd facility, etc.)
70.    Release reason associated with each detention facility
71.    Detention comments (e.g., explaining release to U.S. Marshal’s service or other authority)
72.    Transfer reason (if release reason = transfer)
73.    Segregated from general population or in solitary confinement during detention (yes/no)
74.    Segregation/solitary confinement reason (e.g., health reason/administrative reason/etc.)
75.    Number of days in segregation/solitary confinement
76.    For individuals who posted an ICE-issued bond:
       a. ICE-issued bond posted date
       b. ICE-issued bond posted amount
77.    Departed to country (country removed to if release reason = removed)
78.    Mandatory detention (yes/no) or the equivalent field that allows authorities to determine
       whether a detainee must be mandatorily detained.
79.    Mandatory detention category (e.g., 8 USC § 1226(c), Case Category 8C/8E/8F/etc., Final order
       of removal, etc.)
80.    RC threat level

Immigration Case Information

81.    Case category
82.    Case status
83.    Processing disposition
84.    Processing disposition code
85.    Final charge code
86.    Final charge section
87.    Final order by court (yes/no)
88.    Final order by court date
89.    Final order in absentia (yes/no)
90.    Administratively ordered removed (e.g., ordered removed without obtaining a current final order
       from a court) (yes/no)
91.    Administrative order date
92.    Reinstatement of prior removal order (yes/no)
93.    Prior removal order date
94.    Expedited removal (yes/no)
95.    Immigration fugitive (yes/no)
96.    Convicted criminal removal (yes/no)
97.    Repeat immigration violator (yes/no)
98.    Border removal (yes/no)
99.    Other removable alien (yes/no)
100.   Defenses to removal/deportation/exclusion, or application for discretionary relief filed by the
       noncitizen (yes/no)
        Case 1:20-cv-01166-TJK Document 1-1 Filed 05/05/20 Page 7 of 8


U.S. Immigration and Customs Enforcement
Freedom of Information Act Office
October 11, 2017
Page 6

101.    Section of the federal statute under which the defense or application for relief was filed by the
        noncitizen
102.    Granted legal relief from removal, deportation, or exclusion (yes/no)
103.    Type of relief granted
104.    Noncitizen represented by an attorney (yes/no)
105.    E-27 filing date
106.    E-28 filing date
107.    Charged with illegal entry under 8 U.S.C. § 1325 (yes/no)
108.    Charged with illegal re-entry under 8 U.S.C. § 1326 (yes/no)
109.    Charged with smuggling under 8 U.S.C. § 1324 (yes/no)


                                                   ***

         I request a waiver or a reduction in fees pursuant to 5 U.S.C. § 552(a)(4)(ii)(II) (2012) (“fees
shall be limited to reasonable standard charges for document duplication when records are not sought
for commercial use and the request is made by…educational or noncommercial scientific institution”)
and 6 C.F.R. § 5.11(d)(1) (search fees shall not be charged to “educational institutions”). I am an
academic researcher at the University of Southern California, which qualifies as an “educational
institution” within the meaning of FOIA, 6 C.F.R. § 5.11(b)(4) (2012) (defining “educational
institution” as “an institution of undergraduate higher education [or] an institution of graduate higher
education…that operates a program of scholarly research.”).

        Furthermore, the information requested is not sought for a commercial purpose. I seek the
information for my scholarly research on the U.S. immigration system. A primary goal of my
scholarly research is to advance public understanding of policy-relevant social scientific knowledge. A
summary of my scholarship can be found here:
http://weblaw.usc.edu/contact/contactInfo.cfm?detailID=71271.

        I look forward to your reply to the records requested within twenty (20) business days as
required under FOIA, 5 U.S.C. § 552(a)(6)(A)(i) (2012). I also request that you provide an estimated
date by which you will complete the processing of this request, 5 U.S.C. §552(a)(7)(B). See Muttitt v.
U.S. Cent. Command, 813 F. Supp. 2d 221 (2011).

Please furnish the information requested to me by email at eryo@law.usc.edu or by mail:

        Emily Ryo
        Associate Professor of Law & Sociology
        USC Gould School of Law
        699 Exposition Blvd.
        Los Angeles, CA 90089-0071
       Case 1:20-cv-01166-TJK Document 1-1 Filed 05/05/20 Page 8 of 8


U.S. Immigration and Customs Enforcement
Freedom of Information Act Office
October 11, 2017
Page 7

      If you have any questions, please contact me at 650-248-3855 or via e-mail at
eryo@law.usc.edu. Thank you in advance for your timely consideration of this request.

                                             Sincerely,




                                             _________________________________
                                             Emily Ryo, JD, PhD
                                             Associate Professor of Law & Sociology
                                             USC Gould School of Law
